 Case 1:22-cv-01267-BAH Document 8-2 Filed 05/13/22 Page 1 of 1




                               Index of Exhibits

A. Plaintiff Request for Religious Accommodation (June 1, 2020)

B. Plaintiff Request for Religious Accommodation (Aug. 31, 2021)

C. USAF Cmdr. Interview transcript (Dec. 8, 2021)

D. Religious Accommodation Denial Memo (Dec. 2, 2021)

E. Plaintiff’s Declaration (May 2, 2022)

F. eMail to Plaintiff and Guidance Memo Denying Religious Exemption (Oct. 29, 2021)

G. Memo to Plaintiff from HQ AFFSA CC (Oct. 19, 2021)
